J3 TRANSPORTATION

Case 19-12153-KBO Doc 616 Filed 08/12/20

Eu ED
POST OFFICE BOX # 1089 7070 AUG 12 AM 9:19
KINGSTON, TN. 37763 ct ERK

Phone: (865) 224 - 1135
Fax: (865) 321 - 8395

TO:

BAYOU STEEL GROUP

BAYOU STEEL BD HOLDINGS, LLC
824 MARKET STREET, 3°° FLOOR
WILMINGTON, DE. 19801

COMMENTS OR SPECIAL INSTRUCTIONS:
ADMIN FEE’S FROM BAYOU STEEL GROUP

NS BANKRUPTCY COURS
OOP AE NELAWAR®

Page 1 of 2

INVOICE

INVOICE #JTJPOO1
DATE: 08/01/2020

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SALESPERSON P.O. NUMBER REQUISITIONER | SHIPPED VIA | F.O.B. POINT TERMS
JONATHAN XX-XXXXXXX J3 TRANS TRUCK Due on receipt
QUANTITY DESCRIPTION UNIT PRICE TOTAL
1 ADMINISTRATIVE FEE’S $10,000.00 $10,000.00
THESE FEE’S ARE FOR ADMIN COSTS AND EXPENSES
RELATED TO WORKING IN THE OFFICE AT J3 PAYMENT
TO OUR TEAM FOR FINDING CARRIERS TO HAUL LOADS
DOING BILLING, INVOICEING, ETC. PLEASE REMIT PMT
AS SOON AS YOU CAN. | APPRECIATE ALL YOUR HELP
WITH THIS.
SUBTOTAL $10,000.00
SALES TAX $0.00
SHIPPING & HANDLING $0.00
TOTAL DUE $10,000.00

Make all checks payable to J3 TRANSPORTATION.
If you have any questions concerning this invoice, contact: JONATHAN BENNETT at (865) 224 - 1135 or
JONATBEN@COMCAST.NET.

THANK YOU FOR YOUR BUSINESS]

 

 

 

 

 
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UNITED STATES BANKRUPTCY COURT
District of Delaware
$24 Market Street, 3rd Floor
Wilmington, DE 19801

In Re:
Chapter: 7
Bayou Steel BD Holdings, L.L.C.
dba Bayou Steel Group
ka BD Long Products, LLC
Case No.: 19-12153-KBO

EIN: XX-XXXXXXX

NOTICE OF DEADLINES TO FILE: (I) REQUESTS FOR PAYMENT OF CERTAIN
ADMINISTRATIVE EXPENSE CLAIMS PURSUANT TO 11 U.S.C. § 503(b)

PLEASE TAKE NOTICE that George L. Miller, trustee for the above referenced case,
has filed a Notice of Deadlines to File: ¢ Request: for Payment of Certain Administrative
Expense Claims Pursuant to 1] U.S.C. § 503(b) at Docket No.598.

The complete Notice may be viewed by accessing the court's website at:

https://www.deb.uscourts. gov/news/notice-deadlinefile-administrative-claims-bayou-steel-bd-holdings-llc-et-al

lan Uap

Una O'Boyle, Clerk of Court

Dated: 7/29/20

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